     Case 2:14-cv-07424-JAK-E Document 63 Filed 07/10/19 Page 1 of 5 Page ID #:458

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   California State Bar No. 149803                                BY
11       Room 7516, Federal Building
         300 N. Los Angeles Street
12       Los Angeles California 90012                            Notice has been delivered by First Class U.S. Mail
         Tel:(213 8~4-4858                                       to all counsel (or parties) at their last known address
                                                                 of record in this action on this date
13       Fax:(21~)894-7819
         Email: Kent.Kawakami@usdoj.gov                          Date: Jul 10 2019, 12:05 pm
14 Attorneys for the United States of America
15                         UNITED STATES DISTRICT COURT
16                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
17                                  WESTERN DIVISION
18    UNITED STATES OF AMERICA ex                    Case No. CV 14-7424 JAK (Ex)
      rel. [UNDER SEAL],
19                                                   {~'   SIB ORDER DISMISSING -~----
                   Plaintiff[s],                                   UNSEALING CAS I
20
                                                                                 ~.J ~~~
                          v.
21                                                   rLODGED UNDER SEAL PURSUA
      [UNDER SEAL],                                  TO THE FALSE CLAIMS ACT, 31
22                                                   U.S.C. § 3730(b)(2) & (3)]
23                 Defendant[s].

24                                                   [FILED CONCURRENTLY UNDER
                                                     SEAL: REQLTESTS FOR DISMISSAL;
25                                                   STIPULATION TO UNSEAL CASE]

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     Case 2:14-cv-07424-JAK-E Document 63 Filed 07/10/19 Page 2 of 5 Page ID #:459




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15                             UNITED STATES DISTRICT COURT
16                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
17                                    WESTERN DIVISION
18    UNITED STATES OF AMERICA ex                   Case No. CV 14-7424 JAK(Ex)
      reL RALPH TATGENHORST,an
19    individual,                                        -      ORDER DISMISSING
                                                    ACTION A     UNSEALING CASE
20                Plaintiff,
21                       v.                         [LODGED UNDER SEAL PURSUANT
                                                    TO.THE FALSE CLAIMS ACT,31
22    ITT CORPORATION,an Indiana                    U.S.C.§ 3730(b)(2)& (3)]
23    corporation; PEI/GENESIS,INC., a
      Pennsylvania corporation; and DOES 1
24    through 20, inclusive,                    [FILED CONCURRENTLY UNDER
                                                SEAL: REQVESTS FOR DISMISSAL;
25                Defendants.                   STIPULATION TO UNSEAL CASE]
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 1         Plaintiff United States of America ("United States") and qui tam plaintiff Ralph
 2 ~ ~ Tatgenhorst("Relator"), having jointly requested, pursuant to Rule 41(a)(1) ofthe
 3 Federal Rules of Civil Procedure, that the above-captioned action (this "action") against
 4 ITT Corporation ("ITT") be dismissed in accordance with and subject to the terms and
 5   conditions of the Settlement Agreement, dated May 29, 2019, and the Amendment to
 6 the Settlement Agreement, dated June 21, 2019 (together, the "Settlement Agreement"),
 7 among the United States, Relator and ITT; and Relator having further requested, and the
 8 United States having given its consent in the interests ofjustice, that the action against
 9 the remaining defendant, PEI/Genesis, Inc.("PEI"), also be dismissed without prejudice
10 pursuant to Rule 41(a)(1) ofthe Federal Rules of Civil Procedure,
11         IT IS ORDERED that:
12         1.     With respect to the Covered Conduct, as that term is defined in the
13   Settlement Agreement, this action is dismissed against ITT with prejudice to the United
14 States and Relator, subject to the terms and conditions ofthe Settlement Agreement;
15   and
16         2.     With respect to conduct other than the Covered Conduct, as that term is
17 defined in the Settlement Agreement, and subject to the terms and conditions ofthe
18   Settlement Agreement:
19              (a)this action is dismissed against ITT without prejudice to the United
20         States, and
21              (b)this action is dismissed against ITT with prejudice to the Relator; and
22         3.    This action is dismissed against PEI without prejudice to the United States
23   and to Relator.
24         IT IS FURTHER ORDERED that this action be unsealed, except as to certain
25   documents filed or lodged to date with the Court in this action. The following
26 documents, and only the following documents, shall be unsealed:
27         1.    Complaint;
28         2.    Stipulation Requesting Order Partially Lifting Seal;
                                                2
     Case 2:14-cv-07424-JAK-E Document 63 Filed 07/10/19 Page 4 of 5 Page ID #:461




 1 ',         3.     Order Partially Lifting Seal;
 2            4.     United States' Notice of Election to Partially Intervene and to Partially
 3 Decline to Intervene;
 4            5.     Notice of Settlement;
 5            6.     Corrected United States' Notice of Election to Partially Intervene and to
 6 Partially Decline to Intervene;
 7            7.     Corrected Notice of Settlement;
 8            8.     Requests for Dismissal; Stipulation to Unseal Case;
 9            9.     Any Order issued by the Court to dismiss this action and to unseal
10      documents; and
11            10.    All other papers filed or lodged with the Court in this action after the
12 action is unsealed.
13            All other contents of the Court's file in this action, filed and lodged to date, shall
14 remain permanently under seal and shall not be made public or served upon any
15      defendant or any other person.
16
17      Dated: ~__   ~   lei; ~,~~`                                ohn A. Kronstadt
18                                              UNI        TATES DISTRICT JUDGE

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 1                            PROOF OF SERVICE BY U.S. MAIL
 2         I am over the age of 18 and not a party to the above-captioned action. I am
 3   employed by the Office of United States Attorney, Central District of California. My
 4   business address is 300 North Los Angeles Street, Suite 7516, Los Angeles, California
 5 90012.
 6         On June      2019, I served the [PROPOSED]ORDER DISMISSING ACTION
 7   AND UNSEALING CASE on each person or entity named below by U.S. mail.
 8         Date of mailing: June~2019. Place of mailing: Los Angeles, California.
 9         Persons) and/or Entity(s) to whom mailed:
10         Esperanza Cervantes Anderson
           LAW OFFICE OF ESPERANZA CERVANTES ANDERSON
11         1037 N. Allen Avenue
12         Pasadena, CA 91104
           Attorneys for Qui Tam Plaintiff Ralph Tatgenhorst
13
           I declare that I am employed in the office of a member ofthe bar ofthis Court at
14
     whose direction the service was made.
15
           I declare under penalty of perjury that the foregoing is true and correct.
16
           Executed on June      2019, at Los        eles, California.
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